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                 Exhibit A
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From:
To:             OPS WEST SECTORS; OPSCENTRALSECTORS; OPS EAST SECTOR
Cc:             Immigration Prosecution & Custody OPS
Subject:        Update Field Guidance for Southern Border RE: 212(F) Presidential Proclamation Guaranteeing the States
                Protection Against Invasion
Date:           Tuesday, February 4, 2025 2:37:00 PM
Attachments:    CAT Field Gudance.docx
                USBP Southern Border Field Guidance 212(f).docx


Corridors,

Please disseminate the guidance below to all Southwest Border Sectors.



BLUF: Proclamation 10888, Guaranteeing the States Protection against Invasion,
suspends and limits entry of all illegal aliens encountered by U.S. Border Patrol between
the ports of entry at the southern land border.
      This applies to all illegal aliens who entered the United States after 1800 hours EST
      January 20, 2025.

The entry of any illegal alien invading the United States (which is defined as an alien who
crosses between the ports of entry on the southern land border) is suspended pursuant to
section 212(f) and 215(a) of the INA.

Aliens participating in this invasion are also restricted from invoking INA provisions that
would permit their continued presence in the United States, including discretionary relief. The
Proclamation specifically identified section 208 of the INA, and directs that aliens invading
the United States are not permitted to apply for asylum.   

An alien subject to the Proclamation may be processed as a 212(f) Direct Repatriation (if able
to be repatriated to Mexico) or an Expedited Removal.




Although the appropriate processing pathway for a particular alien should be determined based
on the totality of the circumstances. This includes family units and family groups, as
appropriate. In all cases, the appropriate processing disposition should be determined on a
case-by-case basis, considering the totality of the circumstances.

In accordance with TVPRA, continue to process Unaccompanied Alien Children (UAC) under
normal processing procedures.

The below workflows describe the steps and processes to be followed when processing an
illegal alien for 212(f) repatriation or expedited removal. For all such illegal aliens,
agents should not use Form I-867A, Form I-867B, or Form M-444, or ask specific fear
questions. These forms are not available in either e3 disposition described below. Agents will
refer any alien who manifests fear to U.S. Citizenship and Immigration Services (USCIS) for a
Convention against Torture (CAT) screening. (See attached CAT screening guidance)


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Illegal aliens who entered before the Proclamation’s suspension and limitation on entry was
active, or those encountered after the suspension and limitation on entry is discontinued,
should be processed via the preexisting ER and ER/CF dispositions, which include the above
listed forms. This is determined by the entry date and time, including the full scope ER
authority.

212(f) Direct Repatriations to Mexico




      Agents will be required to book all subjects under 1182f, from whom DNA is collected

                . These subjects should be booked under 8 USC 1182 (Inadmissible Aliens).

Expedited Removal - Per 212(F)
     For all illegal aliens who are subject to the Proclamation, process them consistent with
     the steps below.




      El Salvadorans must be provided with all advisals consistent with Orantes.



Respectfully,


(A) Assistant Chief
U.S. Border Patrol Headquarters
LEOD/Immigration Prosecutions and Custody
GOV:

                                                                                      USA00002
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C:




                                                                      USA00003
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BLUF: All Illegal Aliens (IA) subject to the Presidential Proclamation, Guaranteeing the
states protection against invasion, are eligible for Convention Against Torture (CAT) claims
under 212(f).
The following guidance provides additional information and describes the processing and
referral actions necessary to document any CAT claims under 212(f).
Under the CAT process there is no consultation period or right to counsel. IAs are required to
have a private screening area during their interview.

IA’s apprehended by USBP that are subject to the Proclamation who manifests or expresses fear
of the country where USBP would like to return them, (e.g. Mexico, Canada, or their home
country) should be processed according to the instructions below:

For direct repatriations to Mexico:




                                        the intake page to stamp the file for USCIS.
   •   Annotate in the I-213 narrative that the subject will be referred to USCIS for a CAT
       interview and include the country of return so that USCIS can determine fear of torture
       to that country.


   •   Once USCIS accepts the interview referral, schedule the IA for a CAT interview using the
       USCIS SharePoint site.

For IA’s processes under the                   removal pathway that can be easily removed to
their home country or Mexico:
   •




   •   Annotate in the I-213 narrative that the subject will be referred to USCIS for a CAT
       interview and include the country of return so that USCIS can determine fear of torture
       to that country.
   •


   •   Once USCIS accepts the interview referral, schedule the IA for a CAT interview using the
       USCIS SharePoint site.

For IA’s from hard to remove countries:
   •




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                              Reserved for communications between
                                        and
                              Reserved for communications between
                                 and
                              General BP mailbox for all other Sectors




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